  Case 4:24-cr-00298    Document 130    Filed on 12/02/24 in TXSD   Page 1 of 1
                                                                      United States District Court
                                                                        Southern District of Texas

                  IN THE UNITED STATES DISTRICT COURT                      ENTERED
                                                                       December 02, 2024
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                        Nathan Ochsner, Clerk
                           HOUSTON DIVISION
                                         §
                                         §
 UNITED STATES OF AMERICA,               §
                                         §
 V.                                      § Criminal Action No. 24-CR-00298
                                         §
 EITHANHAIM                              §
                                         §


                                       ORDER
      Pending before the Court is Non-Party X Corp.'s Motion to Intervene

(Document No. 125). Having considered the motion, Government's response, and

applicable law, the Court determines that the Non-Party's motion should be denied.

Accordingly, the Court hereby

      ORDERS that Non-Party X Corp. 's Motion to Intervene (Document No. 125)

is DENIED.

      SIGNED at Houston, Texas, on this~ day of December, 2024.




                                                 C  DAVID HITTNER
                                                United States District Judge
